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                                UNITED STATES DISTRICT COURT

                                 MIDDLE DISTRICT OF LOUISIANA

MCARTHUR GRIFFIN                                                             CIVIL ACTION NO.

VERSUS                                                                       20-92-BAJ-EWD

REC MARINE LOGISTICS, LLC, ET AL.

                                  HEARING REPORT AND ORDER

        A motion hearing was held via Zoom before Magistrate Judge Erin Wilder-Doomes on

June 24, 2021 on the Amended Motion to Compel Discovery Responses (“Amended Motion”), 1

filed by McArthur Griffin (“Plaintiff”), with the following participants:

        PRESENT:          Daniel Sheppard                              Kyle A. Khoury
                          Counsel for Plaintiff,                       Counsel for Defendants,
                          McArthur Griffin                             REC Marine Logistics, LLC;
                                                                       GOL, LLC; Gulf Offshore Logistics,
                                                                       LLC; and Offshore Transport
                          Alan R. Davis                                Services, LLC
                          Counsel for Defendant,
                          QBE Insurance (Europe) Limited

        In the Amended Motion, which is a follow-up to a related discovery motion previously

denied, 2 Plaintiff contends that REC Marine Logistics, LLC (“REC Marine”); GOL, LLC; Gulf

Offshore Logistics, LLC; and Offshore Transport Services, LLC’s (“Non-Insurance Defendants”)

responses to Interrogatory No. 3 and Request for Production No. 2 in Plaintiff’s second set of

discovery requests assert improper objections and fail to substantively respond to the requests.

The requests seek nonparty employee medical information that Plaintiff contends is relevant to the

Non-Insurance Defendants’ purported “McCorpen” 3 defense, and in particular, the “materiality”




1
  R Doc. 67.
2
  See R. Docs. 63, 65.
3
  McCorpen v. Cent. Gulf. S.S. Corp., 396 F.2d 547, 548 (5th Cir. 1968).

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prong thereof, which Plaintiff contends the Non-Insurance Defendants have not formally pled in

their Answer. 4

        Without admitting or denying whether they have formally pled the McCorpen defense, the

Non-Insurance Defendants contend in their opposition memorandum that the discovery requests

are overly broad, and further, “the circumstances of this case do not justify requiring production

of the medical records and sensitive medical information of other employees who are not parties

to this litigation, and who have not authorized the release of their medical information.” 5

        In reply, Plaintiff reiterates that the Non-Insurance Defendants have not formally pled the

McCorpen defense and the deadline for amending the answer has expired. However, if the Non-

Insurance Defendants are held bound by the amendment deadline and not permitted to amend their

Answer to assert the defense, Plaintiff will withdraw the requests. 6

        During the hearing, Plaintiff clarified that the discovery requests at issue are only related

to the McCorpen defense, and that Defendant REC Marine was Plaintiff’s employer at the time of

the accident, and would be the only entity liable to Plaintiff for maintenance and cure. The Non-

Insurance Defendants admitted that REC Marine has not formally pled the McCorpen defense in

an answer (nor has any other Defendant); 7 however, the Non-Insurance Defendants will seek leave

to amend their answer to assert the defense.

        After review of the briefs and clarification of these issues at the hearing, the Amended

Motion will be denied. Rule 26 allows discovery of a matter only when it is both relevant to a

claim or defense and proportional to the needs of the case. The Committee Comments confirm

that requiring relevance to a claim or defense “‘signals to the court that it has the authority to



4
  R. Doc. 67-1 and see requests and responses at R. Doc. 67-3.
5
  R. Doc. 69.
6
  R. Doc. 73 and see R. Doc. 41, setting November 18, 2020 as the amendment deadline. Plaintiff additionally avers
that the requested information is discoverable, and Plaintiff has agreed to limit the scope of the requests in some
respects.
7
  Current defense counsel enrolled after the Answer was filed by prior counsel. R. Docs. 14, 45-46.


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confine discovery to the claims and defenses asserted in the pleadings, and signals to the parties

that they have no entitlement to discovery to develop new claims or defenses that are not already

identified in the pleadings.’” 8 As was well-stated in one case where discovery regarding unpleaded

defenses was denied, “Claimant cannot lead a fishing expedition to find material that might

possibly become relevant to an as-yet unpleaded …defense ….Claimant seeks discovery ‘which

does not presently appear germane on the theory that it might conceivably become so.’” 9

         Here, the Amended Motion relates to discovery requests that seek information regarding

an unpleaded McCorpen defense. 10 While the Non-Insurance Defendants have stated in their

opposition memorandum that they believe REC Marine “may have a viable McCorpen defense to

any claim by plaintiff for maintenance and cure benefits associated with an alleged injury to his

neck or low back,” 11 and counsel stated at the hearing that REC Marine intends to seek leave to

amend its answer to assert the defense, it is undisputed that no party has actually pleaded the

McCorpen defense at this point in time (nor has REC Marine been given leave to do so) such that

discovery related to the defense is not relevant. This Court has previously found that the McCorpen

defense is an affirmative defense that must be pleaded. 12




8
   Waste Mgmt. of La., LLC v. River Birch, Inc., No. 11-2405, 2017 WL 2271982, at *4 (E.D. La. May 24, 2017),
quoting Whitney v. Krystal Co., No. 10-773, 2012 WL 777161, at *1 (M.D. Ala. March 7, 2012).
9
  United States v. All Assets Held at Bank Julius Baer & Co., Ltd., 202 F.Supp.3d 1, 7 (D.D.C. 2016).
10
   R. Doc. 67-1, p. 4 (“Plaintiff suspects one or more of the Non-Insurance Defendants will eventually assert the
McCorpen defense and seek to dismiss Plaintiff’s claims for maintenance and cure using a self-serving affidavit and/or
testimony from one of their employees.”). McCorpen v. Cent. Gulf S. S. Corp. generally stands for the proposition
that a seaman who willfully conceals a pre-existing injury from his employer may not recover damages for
maintenance and cure if that injury is reactivated or aggravated during a later voyage. See 396 F.2d at 548; Brown v.
Parker Drilling Offshore Corp., 410 F.3d 166, 171 (5th Cir. 2005). The maritime employer who seeks to invoke the
McCorpen defense must prove that: (1) the claimant intentionally misrepresented or concealed medical facts; (2) the
non-disclosed facts were material to the employer’s decision to hire the claimant; and (3) a connection exists between
the withheld information and the injury complained of in the lawsuit. See Brown, 410 F.3d at 171.
11
   R. Doc. 69, p. 5.
12
   Ruiz v. Plimsoll Marine, Inc., 782 F.Supp. 315, 317 (M.D. La. 1992) (“The forfeiture of maintenance and cure
argument is an affirmative defense.”); see also Sharpe v. Bertucci Contracting Co. LLC, No. 13-6101, 2014 WL
4274710, *4 (E.D. La. Aug. 29, 2014) (“In the context of an affirmative defense such as the McCorpen rule, Defendant,
the non-moving party, bears the burden of proof at trial.”).


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         Plaintiff has acknowledged that “If all Defendants will be bound by this deadline [to amend

answers] and precluded from filing an amended answer in the future, plaintiff can withdraw the

discovery requests in dispute.” 13 Not unreasonably, Plaintiff asks that if the Non-Insurance

Defendants are given leave to amend, the Court compel responses to the discovery requests at

issue. While this Order will not go that far, the denial of the Amended Motion is without prejudice

to re-urging the motion should any Defendant be granted leave to assert the McCorpen defense,

yet still refuse to respond to discovery related to that defense.

         The Court provided guidance to the parties regarding the Non-Insurance Defendants’

anticipated motion for leave to amend, which Plaintiff initially stated he would oppose because he

has not received relevant discovery and because the proposed amendment is untimely (a concern

noted by the undersigned). 14 However, the defense is important, and there seems to be an absence

of any prejudice as the parties can still conduct discovery related to the defense. 15 Likewise, the

Court also provided guidance regarding the scope of appropriate discovery related to the

McCorpen defense should a motion for leave to amend be granted. In such a case, McCorpen

discovery would likely be permitted, although the scope of the discovery requests should be

narrowed, as the current requests seek the pre-employment disclosure of all pre-existing injuries

of all employees in all job positions employed by all Non-Insurance Defendants, which is overly

broad. Discovery should initially be tailored to the pre-employment disclosures of REC Marine

employees in similar job positions with similar previous injuries as Plaintiff. The parties were also



13
   R. Doc. 73, p. 1. The deadline to join parties or file a motion for leave to amend pleadings was originally set for
November 18, 2020. R. Doc. 41. Although some other deadlines were extended, that deadline was not. See R. Doc.
70.
14
   The Court must apply the Rule 16(b) factors to determine whether defendants can amend their answer after the
deadline set by the Court. The factors to consider are: (1) the explanation for the failure to timely move for leave to
amend; (2) the importance of the amendment; (3) potential prejudice in allowing the amendment; and (4) the
availability of a continuance to cure such prejudice. S&W Enters., LLC. v. SouthTrust Bank of Ala., NA, 315 F.3d 533,
536 (5th Cir. 2003).
15
   The jury trial in this matter was recently continued to March 21, 2022, and certain other deadlines were extended,
including the deadline to complete fact discovery, which was extended to August 21, 2021. R. Doc. 70.


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advised to consider entering a protective order and/or to agree to redactions of responsive records

to address privacy concerns. The parties were ordered to discuss these issues, i.e., the Non-

Insurance Defendants’ anticipated motion for leave and the McCorpen defense discovery, in an

attempt to amicably resolve them.

           Accordingly,

           IT IS ORDERED that Plaintiff McArthur Griffin’s Amended Motion to Compel

Discovery Responses 16 is DENIED for the reasons stated in this Report and Order, without

prejudice to Plaintiff re-urging the motion should any Defendant be granted leave to assert the

McCorpen defense, yet still refuse to respond to discovery related to that defense.

           IT IS FURTHER ORDERED that the parties shall meet and confer regarding Plaintiff’s

anticipated motion for leave to amend and the scope of McCorpen discovery, in an attempt to

amicably resolve these issues.

           Signed in Baton Rouge, Louisiana, on June 24, 2021.


                                              S
                                              ERIN WILDER-DOOMES
                                              UNITED STATES MAGISTRATE JUDGE




16
     R. Doc. 67.


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